20070014418 ELECTRONICALLY RECORDED IN THE PUBLIC RECORDS OF LEON COUNTY, FL
BK: 3659 PG: 2102 02/19/2007 at 04:32 PM_BOB INZER, CLERK OF COURTS

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™n the Circuit Court, Second Judicial Circuit,
in and for Leon County, Florida

mo =
Division: Felony ee =
i cn
State of Florida oe
v. oe a
ERVIN BELL cin Do.
Defendant Probation oo GS Regrial.-~
Community Control Violator $°=__ Resentence
Case No.2006CF002914A oO
The Defendant, ERVIN BELL , being personally before this court
represented by, __“B. Ho bles ‘ , attorney of record, and the state
represented by, Cc A, and having
been tried and found guilty by jury / by court of the following crime(s) ,
entered a plea of guilty to the following crime(s)
” __ entered a plea of nolo contendere to the following crime(s) .
Count Crime Offense Statute Degree Case Number OBTS Number

Number(s) of Crime

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2 DWLR 322.845 | Fr3 i

Ff and no cause being shown why the defendant should not be adjudicated guilty, IT IS ORDERED that the
_ defendant is hereby ADJUDICATED GUILTY as to all counts or as to count(s)

iat and having been convicted of an attempt or offense enumerated in section 943.325, the defendant shall be

required to submit two specimens of blood or other biological specimens to the Department of Law
Enforcement as provided for by law

and good cause being shown; IT IS ORDERED that ADJUDICATION OF GUILT BE WITHHELD as to all
counts or as to count(s)

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OR BK: 3659 PG: 2103

State of Florida
Vv.

ERVIN BELL
Defendant

Dae of Birth i Case Number 2006CF002914A

Address:

“Sis! Security Number I
“Tagine garde 2190'

1. Right Thumb 2. Right Index 3. Right Middle 4. Right Ring 5. Right Little

10. Left Little

Fingerprints taken by: Mocs hou, 2 7, jd

Name Tl Tithe’

I CERTIFY that these are the fingerprints of the defendant, ERVIN BELL, and that they were placed hereon by
the defendant in my presence in open court this date.

DONE AND ORDERED in open court in Leon County, Florida, on 2// 2 /o 7

Judge.

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OR BK: 3659 PG: 2104

Defendant ERVIN BELL — Case Number_2006CF00.714A

OBTS Number

(As to Count 1-2. )

The defendant, being personally before this court, accompanied by the defendant's attorney of record,

: Hebb , and having been given an opportunity to be heard and to offer matters in
mitigation of sentence, and to show cause why the defendant should not be sentenced as provided by law; and no cause
being shown

(Check one if applicable)

the Court places the defendant on probation / community control for a period of months / years
under the supervision of the Dept. of Corrections, the conditions of which are set forth in a separate order.
the Court having previously on __, deferred imposition of sentence until this date.
the Court having previously entered a judgment in this case on now
resentences the defendant
the Court having placed the defendant on probation / community control and having subsequently revoked
the defendant's probation/community control.

It Is The Sentence Of The Court that:

The defendant pay a fine of $ , pursuant to section 775.083, F.S., plus $ as the
5% surcharge required by section 938.04, F.S
The defendant is committed to the custody of the Department of Corrections.
The defendant is directed to the custody of the Sheriff of County, Florida.
The defendant is sentenced as a youthful offender in accordance with section 958.04, F.S..

To Be Imprisoned (Check one; unmarked sections are inapplicable):

For a term of natural life.

LU __ Fora term of l + I day months / years.
Said SENTENCE SUSPENDED for a period of subject to the
conditions set forth in this order.

If "split" sentence, complete the appropriate paragraph.

~m Followed by a period of / 3 months on probation/community centre] under the
supervision of the Department of Corrections according to and conditions set forth in a separate
order entered herein.
However, after serving a period of imprisonment in
, the balance of the sentence shall be suspended and the defendant be placed on
probation/community control for a period of under supervision

of the Department of Corrections according to the terms and conditions of probation/community control
set forth in a separate order entered herein.

In the event the defendant is ordered to serve additional split sentences, all incarceration portions shall be satisfied before
the defendant begins service of the supervision terms.

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OR BK: 3659 PG: 2105

Defendant ERVIN BELL _ Case Number_2006CF002914A

(As to Count )

By appropriate notation, the following provisions apply to the sentence imposed in this count:

Firearm It is further ordered that the minimum imprisonment

Drug Trafficking

Controlled Substance w/in
1,000’ of School, Public Park,
Comm.Center or Rec. Facility
Habitual Felony Offender

Controlled Substance,
Manufacture of Metham-
Phetamine/Phencyclidine
Habitual Violent

Felony Offender

Prison Releasee Reoffender
Law Enforcement
Protection Act

Capital Offense
Short-Barreled Rifle,
Shotgun, Machine Gun

Continuing Criminal Enterprise

Dangerous Sexual Felony
Offender

Personal ID Information

Other Provisions
(e.g., see Ch. 775, F.S.)

provision of section 775.087, F.S., is hereby imposed for the sentence specified
in this count.

It is further ordered that the years mandatory minimum
imprisonment provision of section 893.135(1), F.S., and fine in the amount of
$ is hereby imposed in this count.

It is further ordered that the 3-year minimum imprisonment provision

pursuant to 893.13(1)(c), F.S., is hereby imposed for the sentence

specified in this count.

The defendant is adjudicated a habitual felony offender and has been sentenced
to an extended term in accordance with the provisions of section 775.084(4)(a),
F.S.. The requisite findings by the court are set forth in a separate order or stated
on the record in open court.

It is further ordered that the minimum mandatory provision
of section 893.13(1)(g), F.S. is hereby imposed for the sentence specified in
this count.

The defendant is adjudicated a habitual violent felony offender and has been
sentenced to an extended term in accordance with the provisions of section
775.084(4)(b), F.S.. A minimum term of year(s) must be
served prior to release. The requisite findings of the court are set forth in a
separate order or stated on the record in open court.

The defendant is adjudicated a prison releasee reoffender and has been
sentenced to serve 100 percent of the court-imposed sentence in accordance with
section 775.082(8)(b).

It is further ordered that the defendant shall serve a minimum of
years before release in accordance with section 775.0823, F.S..

It is further ordered that the defendant shall be ineligible for Parole in
accordance with the provisions of section 775.082(1), F.S..

It is further ordered that the 5-year minimum provision of section
790.221(2), F.S., is hereby imposed for the sentence specified in this count.
It is further ordered that the 25-year minimum sentence provision of section
893.20, F.S., is hereby imposed for the sentence specified in this count.

It is further ordered that the minimum imprisonment provision of section
794.0115(2)(e), F.S. is hereby imposed for the sentence specified in this count.
The defendant shall be imprisoned for a minimum of years; or,

for a term of life.

It is further order that the minimum mandatory provision of
section 817.568 F.S., is hereby imposed for the sentence specified in this count.

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Defendant ERVIN BELL - Case Number_2006CF00291+4

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Retention of Jurisdiction The court retains jurisdiction over the defendant pursuant to section
947.16(4), F.S. (2002).

Other Provisions as to count(s)

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Jail Credit 4 It is oe ordered that the defendant shall be allowed a total of

days as credit for time incarcerated before imposition of
this sentence.

CREDIT FOR TIME SERVED IN RESENTENCING AFTER
VIOLATION OF PROBATION OR COMMUNITY CONTROL

(Check as applicable)

IT IS FURTHER ORDERED that the defendant be allowed days time served
between date of arrest as a violator following release from prison to the date of resentencing. The
Department of Corrections shall apply original jail time credit and shall compute and apply credit for
time served and unforfeited gain time previously awarded on count(s) ;
(Offenses committed before October 1, 1989).

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IT IS FURTHER ORDERED that the defendant be allowed days time served
between date of arrest as a violator following release from prison to the date of resentencing. The
Department of Corrections shall apply original jail time credit and shall compute and apply credit for
time served on count(s) .
(Offenses committed between October 1, 1989 and December 31, 1993).

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The Court deems the unforfeited gain time previously awarded on the above case/count
forfeited under section 948.06(7).

The Court allows unforfeited gain time previously awarded in this case/count. (Gain
time may be subject to forfeiture by the Department of Corrections under section
944.28(1) ).

IT IS FURTHER ORDERED that the defendant be allowed days time served between
date of arrest as a violator following release from prison to the date of resentencing. The Department of
Corrections shall apply original jail time credit and shall compute and apply credit for time served only
pursuant to section 921.0017, Florida Statutes, on count(s)
(Offenses committed between January 1, 1994 and May 29, 1997).

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IT IS FURTHER ORDERED that the defendant be allowed days time served between
date of arrest as a violator following release from prison to the date of resentencing. The Department of
Corrections shall apply original jail time credit and shall compute and apply credit for time served only
pursuant to section 921.0017, Florida Statutes on count(s)
(Offenses committed after May 30, 1997).

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Defendant ERVIN BELL =“ Case Number_2006CF002914A

Other Provision Continued:

Consecutive/Concurrent ee
as to Other Counts It is further ordered that the sentence imposed as to count(s) i.
shall run (check one) consecutive to ~—___ concurrent

with the sentence set forth in count / of this case.

Consecutive/Concurrent
as to Other Convictions i It is further ordered that the composite term of all sentences imposed for
the counts specified in this order shall run (check one)
consecutive to um concurrent with the following
(check one) any active sentence being served

i specific sentences ROG CF ¥SSO A

In the event the above sentence is to the Department of Corrections, the Sheriff of Leon County,
Florida, is hereby ordered and directed to deliver the defendant to the Department of Corrections at the facility designated
by the Department together with a copy of this judgment and sentence and any other documents specified by Florida
Statutes.

The defendant in open court was advised of the right to appeal from this sentence by filing notice of appeal
within 30 days from this date with the clerk of this court and the defendant’s right to the assistance of counsel in taking
the appeal at the expense of the State on showing of indigency.

In imposing the above sentence, the court further recommends - Irth) DO c

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OR BK: 3659 PG: 2108

Defendant ERVIN BELL _ Case Number_2006CFtv2Z914A

IT IS THE JUDGMENT AND ORDER OF THE COURT THAT DEFENDANT IS LIABLE FOR AND SHALL PAY THE FOLLOWING:

1; $ $b O as a fine pursuant to §775.083, F.S.

$ Aa . as the 5% surcharge required by §938.04, F.S..
$20.00 as a court cost pursuant to §938.06, F.S. (Crime Stopper Trust Fund).

$3.00 as a court cost pursuant to §938.01(1) F.S. (Criminal Justice Trust Fund).
$50.00 pursuant to §938.03, F.S. (Crimes Compensation Trust Fund).
ead $56-00-frtist-y pursuant to §938.05, F.S. (Local Government Criminal Justice Trust Fund).
-00 as a court cost pursuant to § 938.15, F.S. (County Criminal Justice Education).
$2.00 as a court cost pursuant to §938.15, F.S. (City Criminal Justice Education).

-00 (felony) $20-66-¢misd-y as a court cost pursuant to §775.083(2) F.S. (County Crime Prevention).
10. $65.00 as a court cost pursuant to § 939.185, F.S. (County Additional Court Cost).

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i; $3.00 as a court costs pursuant to § 939.19 F.S. (Teen Court Assessment).

12. O If checked, the Defendant shall pay $40.00 as a fee pursuant to §27.52(c), F.S. (Indigent Criminal Defense Trust Fund).
13. O If checked, the Defendant shall pay $135.00 as costs pursuant to §938.07, F.S. (Driving or Boating Under The Influence).
14. O Ifchecked, the Defendant shall pay $15.00 as costs pursuant to §938.13, F.S. (Misd. Drug Alcohol Assessment)

15. If checked, the defendant shall pay the following as additional statutorily mandated surcharges:
O $201.00 as a surcharge and condition of supervision pursuant to §938.08, F.S. (Domestic Violence Trust Fund).
O $151.00 as a surcharge and condition of supervision pursuant to §938.085, F.S. (Rape Crisis Program Trust Fund).
O $101.00 as costs pursuant to §938.10, F.S. (Children & Family Services Child Ad. TF)

0 IF CHECKED, THE DEFENDANT IS ORDERED TO PAY THE FOLLOWING DISCRETIONARY ITEMS:

16. $ as additional fine pursuant to §775.0835(1), F.S.. (Optional Fine for the Crimes Compensation Trust Fund).
0 If checked, discretionary fine is reduced to judgment, for which let execution issue.

17. $ Statutory Incarceration and Other Correctional Costs as Liquidated Damages pursuant to
§960.293(2)(a) and (b), F.S. (Victim Assistance — Determination of Damages and Losses)

$ G20 TOTAL Fine, if any, and Statutorily Mandated Costs, Fees and Surcharges

~~
$4 3 45 Court Costs Reduced to Civil Judgment $ Si Qo Fine reduced to Civil Judgment

$ Court Costs/Fines Deferred

0 IF CHECKED, THE DEFENDANT IS ORDERED TO PAY THE FOLLOWING DISCRETIONARY COSTS:

18. $ for documented costs of prosecution pursuant to §938.27, F.S., payable to:
O Ifchecked, §938.27, F.S. costs not requested by State.

19. $ for legal assistance costs or attorney fees pursuant to §938.29 and §27.56, F.S.

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OR BK: 3659 PG: 2109

Defendant ERVIN BELL Case Number_2006CF0029144

IT IS FURTHER ORDERED AS FOLLOWS:

The defendant is ordered to pay the court ordered fine, court costs, fees and surcharges imposed in this
case in full within 30 days of the date of this order. If not timely paid, the defendant must report to the Office of
the Clerk of Court to enter the Clerk’s payment program to set up a payment schedule to pay the balance.

If the balance is not paid within 30 days and the defendant does not thereafter report to the Clerk of Court
to schedule to pay the balance as required, the defendant’s driver’s license may be suspended and the defendant
may be required to appear in court to answer for the failure to appear or failure to pay.

The defendant must immediately notify the Clerk of Court, in writing, of any change in the defendant’s
mailing address.

All fines, costs, fees and surcharges must be paid in cash or by money order, travelers check, personal
check or credit card payable to: Clerk of Court, Leon County Courthouse.

DONE AND ORDERED on 2. lo /o ‘) .

CIRCUIT COURT

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OR BK: 3659 PG: 2110

Name: ERVIN BELL
Case No. 2006 CF 2914A

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the judgment/disposition order
rendered on February 16, 2007, has been served by U. S. Mail to counsel for
State Attorney XX Defendant XX, Defense Attorney Barbara Hobbs
at 462 W. Brevard St., Tallahassee, FL 32301 on this 19th day of February 2007.

BOB INZER, CLERK

